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District of Hawaii

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Attorneys for Plaintiff
UNITED STATES OF AMERICA


                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,      )              CR. NO. 20-00068 LEK
                               )
               Plaintiff,      )              NOTICE OF APPEARANCE ON
                               )              BEHALF OF THE UNITED
     vs.                       )              STATES; CERTIFICATE OF
                               )              SERVICE
NICKIE MALI LUM DAVIS,         )
                               )
               Defendant.      )
_______________________________)


      NOTICE OF APPEARANCE ON BEHALF OF THE UNITED STATES
      COMES NOW, Sean F. Mulryne, Director of Enforcement and Litigation,
Election Crimes Branch of the Public Integrity Section, Criminal Division, United
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States Department of Justice, and hereby enters his appearance before the U.S.
District Court, District of Hawaii, on behalf of the United States for the above-
captioned case.

      DATED: August 4, 2022, at Washington, District of Columbia.

                                              CLARE E. CONNORS
                                              United States Attorney
                                              District of Hawaii

                                                   /s/ Sean F. Mulryne
                                              By____________________
                                                SEAN F. MULRYNE
                                                Director of Enforcement
                                                and Litigation




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                          CERTIFICATE OF SERVICE

      I hereby certify that, on the dates and by the methods of service noted below,

a true and correct copy of the foregoing was served on the following at their last

known addresses:

Served Electronically through CM/ECF:

      William McCorriston, Esq.
      David Minkin, Esq.
      James Bryant, Esq.

      Attorneys for Defendant
      NICKIE MALI LUM DAVIS

      DATED: August 4, 2022, at Washington, District of Columbia.

                                                    /s/ Sean F. Mulryne
